           Case 2:06-cr-00455-WBS Document 73 Filed 02/26/08 Page 1 of 3


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 4   Telephone: (916) 554-2781
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. 06-455-WBS
12             Plaintiff,             )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     JAY SAYARATH,                    )
15   SUE HER,                         )
     TONY KETMANY, and                )
16   KHANTHY VONGSEDONE               )
               Defendants.            )   Hon. William B. Shubb
17                                    )
18
19        The parties request and stipulate that the time beginning
20   February 25, 2008, and extending through March 31, 2008 and
21   stipulate should be excluded from the calculation of time under
22   the Speedy Trial Act.    The parties request that the status
23   conference date set for February 25, 2008 be vacated and a new
24   status conference be scheduled for March 31, 2008 at 8:30 a.m.
25   Defendants Sue Her, Tony Ketmany, and Khanthy Vongsedone and the
26   United States submit that the ends of justice are served by the
27   Court excluding such time, in order to permit the counsel a
28   reasonable time for effective preparation, taking into account

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              Case 2:06-cr-00455-WBS Document 73 Filed 02/26/08 Page 2 of 3


 1   the exercise of due diligence.        18 U.S.C. § 3161(h)(8)(B)(iv).
 2   In particular, the parties are working toward a resolution to the
 3   case and need more time to evaluate the evidence and negotiate
 4   disputed issues.      The parties stipulate and agree that the
 5   interests of justice served by granting this continuance outweigh
 6   the best interests of the public and the defendant in a speedy
 7   trial.    18 U.S.C. § 3161(h)(8)(A) and local code T-4.          The Court
 8   on January 23, 2008 by signing a stipulation and order ordered a
 9   T-4 exclusion of time from January 22, 2008 until February 25,
10   2008.
11                                             Respectfully Submitted,
12                                             McGREGOR W. SCOTT
                                               United States Attorney
13
14   Dated: February 25, 2008                  By:/s/ Jill Thomas
                                                  JILL THOMAS
15                                                Assistant U.S. Attorney
16   Dated: February 25, 2008                  By:/s/ J. Toney
                                                  J. TONEY
17                                                Attorney for defendant
                                                  Tony Ketmany
18
     Dated: February 25, 2008                  By:/s/ Shari Rusk
19                                                SHARI RUSK
                                                  Attorney for defendant
20                                                Sue Her
21   Dated: February 25, 2008                  By:/s/ Christopher Haydn-Myer
                                                  CHRISTOPHER HAYDN-MYER
22                                                Attorney for defendant
                                                  Khanthy Vongsedone
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 1
                                         ORDER
 2
          FOR GOOD CAUSE SHOWN, IT IS ORDERED THAT in case number 06-
 3
     455 WBS, the time beginning February 25, 2008, and extending
 4
     through March 31, 2008, is excluded from the calculation of time
 5
     under the Speedy Trial Act.        The Court finds that interests of
 6
     justice served by granting this continuance outweigh the best
 7
     interests of the public and the defendant in a speedy trial.             18
 8
     U.S.C. § 3161(h)(8)(A) and local code T-4.          The next status
 9
     conference date is set for March 31, 2008.
10
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12
     Dated:    February 25, 2008
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